                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
        Plaintiff,                               )
                                                 )       Case No.
                       v.                        )
                                                 )
VILLAGE OF HINSDALE, ILLINOIS,                   )
                                                 )
        Defendant.                               )
                                                 )

                                         COMPLAINT

       The United States of America (“United States”) alleges as follows:

                                                 I.

                                       INTRODUCTION

       1.      The United States brings this action against the Village of Hinsdale, Illinois (the

“Village” or “Hinsdale”) under the Fair Housing Act, Title VIII of the Civil Rights Act of 1968,

as amended (“FHA”), 42 U.S.C. §§ 3601–3619.

       2.      The Village has attempted to prohibit Trinity Sober Living, LLC (“Trinity”) from

operating a sober living home with ten residents in recovery from drug or alcohol addiction on

the basis of disability. The Village claimed that the sober home was prohibited from operating,

regardless of the number of residents it has, because it was a “commercial” land use under the

Village’s zoning code. This determination would have effectively precluded any group home or

supported housing for persons with disabilities from operating in single-family residential

districts in the Village. Furthermore, following opposition from neighbors opposed to the sober

home, the Village refused to even consider Trinity’s request for a reasonable accommodation

under the FHA, and instead responded by filing a lawsuit to evict the sober home the very next
day. Accordingly, the Village has discriminated on the basis of disability, including by refusing

to provide a reasonable accommodation, in violation of the FHA, 42 U.S.C. § 3604(f).

       3.      On November 13, 2020, after learning that the United States had authorized the

filing of this lawsuit, the City filed a notice in Trinity Sober Living, LLC v. Village of Hinsdale,

No. 1:19-cv-07321 (N.D. Ill.), indicating that it was withdrawing its position that a group home

with three or fewer individuals is prohibited as a “commercial use” under the Village’s zoning

code. See ECF No. 65, at 2. However, the Village continues to take the position that group

homes with three or more unrelated persons violate the Village’s zoning code, which would

effectively exclude most group homes for persons with disabilities. The Village also continues

to maintain that it did not deny Trinity a reasonable accommodation, despite failing even to

consider its request and responding instead with a lawsuit.

                                                  II.

                                 JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this action and may grant the relief sought herein

pursuant to 28 U.S.C. §§ 1331 and 1345; 42 U.S.C. § 3614(a); and 28 U.S.C. §§ 2201 and 2202.

       5.      Venue is proper under 28 U.S.C. § 1391 because the events or omissions giving

rise to the claims alleged herein occurred in this district and because defendant is located there.

                                                 III.

                                           DEFENDANT

       6.      Defendant Village of Hinsdale is a unit of local government organized under the

Constitution and laws of the State of Illinois. See Ill. Const. art. 7, § 1; 65 Ill. Comp. Stat. 5/1-1-

1 et seq. The Village has the capacity to sue and be sued.




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                                                IV.

                                  FACTUAL ALLEGATIONS

   A. Trinity Sober Living

       7.       Trinity assists persons who are in recovery from alcoholism or drug addiction to

achieve and maintain sobriety. It was founded in 2019 to address the lack of sufficient services

and supports for persons recovering from alcoholism and drug addiction in Chicago’s western

suburbs. Michael Owens is the founder and CEO of Trinity.

       8.      Trinity’s office is located at 19 North Grant Street in Hinsdale’s business district.

At this location, Trinity provides therapy, 12-step meetings, and other outpatient and after-care

services. Trinity employs a full-time clinical director and receives referrals from a number of

area hospitals and recovery programs.

       9.      On June 16, 2019, Trinity purchased a five bedroom, 4,000 square foot home

located at 111 North Grant Street in Hinsdale, a short walk from its office. Trinity intended to

use this home as a sober living home for up to ten persons in recovery from alcoholism or drug

addiction. The home began operating on July 27, 2019 with one resident and a live-in house

manager.

       10.     Sober living homes are designed to provide stable housing for persons recovering

from alcoholism or drug addiction. A sober living home is typically a single-family house whose

layout is intended to facilitate the development of relationships of several residents, all of whom

are in recovery from alcoholism or drug addiction. Through this model, residents can avoid

feelings of isolation and loneliness, which have been shown to contribute to relapse, by sharing

bedrooms and having the ability to congregate and socialize in communal living spaces. These

communal living arrangements encourage residents to hold each other accountable for their



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actions in order to prevent relapse. A critical mass of residents is typically necessary for this

model to succeed therapeutically.

       11.     Consistent with this model, Trinity’s sober living home served between nine and

ten residents in recovery from alcoholism or drug addiction from approximately November 2019

until the end of October 2020, when Trinity sold the home in Hinsdale and moved the residents

to another sober home in another town. Residents shared bedrooms, cooked and ate meals

together, and socialized together in the home’s common rooms. Residents received services at

Trinity’s office one block away, although some support meetings occurred in the home.

       12.     Although, as of November 2020, Trinity will no longer operate a sober living

home at 111 North Grant Street in Hinsdale, it wishes to open another, similarly-structured sober

living home in Hinsdale, due in part to continued demand for Trinity’s services in Hinsdale and

because Trinity’s office and therapeutic services for residents are located there.

       13.     As a result of being in recovery from alcoholism or drug abuse, Trinity’s residents

were substantially limited in one or more major life activities, including maintaining steady

employment, familial relationships, and friendships, and being able to live independently without

support and assistance to maintain sobriety.

       14.     Residents of Trinity’s sober living home were asked to make a one-month

minimum commitment to Trinity’s recovery program. Residents typically stayed 90 days,

though others stayed longer.

       15.     Residents of Trinity’s sober living home were required to be sober upon entry,

had to abstain from drugs or alcohol while living there, and were required to undergo weekly

drug testing. Residents participated in a three-phase recovery program, with the first phase being

the most restrictive. Once residents graduated to Phases 2 and 3, they could be granted one or



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two overnight or weekend passes per month. While at the home, residents had to be awake and

dressed by 9:00 A.M. on weekdays and were required to adhere to a curfew. A live-in house

manager administered the sober home and the rules governing residents.

       16.     Trinity’s sober living home had six off-street parking spaces. Residents were

informed in advance that parking is limited and that they may not park overnight on the street,

per Village law. As a result, many residents either did not have a car or stored their vehicles

elsewhere while at Trinity.

   B. Relevant Zoning Provisions

       17.     Most of Hinsdale, including 111 North Grant Street, is zoned as single-family

residential. Under Hinsdale’s zoning code, a “family” is “[o]ne or more persons related by

blood, marriage, legal adoption, or guardianship, or not more than three (3) persons not so

related, together with gratuitous guests and domestic servants, living together as a single

housekeeping unit.” Hinsdale Mun. Code § 12-106, available at:

https://www.sterlingcodifiers.com/codebook/index.php?book_id=967.

       18.      The zoning code also allows “home occupations,” meaning in-home businesses

conducted by the resident, in single-family residential districts. A “home occupation” may have

one non-resident employee working on site. Id. §§ 3-104, 9-102. The zoning code also contains

no restrictions on rental housing.

       19.     The zoning code does not refer to or explicitly authorize group homes for persons

with disabilities. The zoning code allows “transitional service facilities,” which are “[a]n

authorized and licensed dwelling operated by a public or private agency duly authorized and

licensed by any state agency having authority to license and approve said facility that houses

individuals being cared for by the agency and deemed by the agency to be capable of living and



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functioning in the community and that provides continuous professional guidance.” Id. § 12-

106. Such facilities are only allowed in multifamily districts and only pursuant to a special use

permit, are limited to six residents, and are subject to a spacing rule prohibiting any such facility

from being located within one-quarter mile of another such facility, including those located

outside the Village’s boundaries. Id. § 4-107.

       20.     The zoning code does not contain a process for granting reasonable

accommodations to zoning and land use laws to afford persons with disabilities an equal

opportunity to use and enjoy a dwelling pursuant to the Fair Housing Act. See 42 U.S.C. §

3604(f)(3)(B). However, in August 2017, the Village received a request from a family to

construct an accessible patio for their daughter, who uses a wheelchair. Ordinarily, requests for

exceptions to land use restrictions under the zoning code are considered by the Village’s Zoning

Board of Appeals (“ZBA”) for a variance or special use permit. The Village recognized that this

process would be inappropriate for reasonable accommodations for persons with disabilities

because the ZBA must consider “strict hardship standards,” which are inconsistent with the

standards for reasonable accommodations under the FHA. Therefore, the Village waived this

requirement and referred the request to the Board of Trustees, which approved it unanimously

and without a public hearing.

       21.     In considering the reasonable accommodation request described above, the

Village recognized that “while the [Board of Trustees] has some flexibility in determining what

exactly is ‘reasonable’ under ‘reasonable accommodation,’ … the spirit and intent of the law

should be considered and deference given to the applicant when considering the request.”




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   C. The Village’s Actions with Respect to Trinity’s Sober Home

       22.      On July 13, 2019, a resident of Hinsdale e-mailed the Village President, Thomas

Cauley, stating that “men dealing with drug and alcohol addiction” would be living at 111 North

Grant Street. The resident informed Mr. Cauley that many of his neighbors were “very worried”

about “having people with these issues living as a group in our neighborhood. Any restrictions

on this within proximity to Monroe Elementary?”

       23.      Around this time, other neighbors approached Mr. Owens at 111 North Grant

Street to express their concern about persons in recovery from alcoholism and drug addiction

living there. One neighbor (not the individual referenced above) accused Mr. Owens of bringing

“addicts and alcoholics into the neighborhood” and stated that he had raised these concerns with

Mr. Cauley. Another neighbor accused Mr. Owens of bringing “alcoholics, drug addicts, and

pedophiles into our neighborhood.” Mr. Owens attempted to assure the neighbors that this was

not the case.

       24.      On July 18, 2019, Mr. Cauley wrote to Mr. Owens that “[i]t has come to my

attention that Trinity Sober Living, LLC, has purchased property within the Village located at

111 N. Grant Street, and intends to use it as a facility where ten (10) unrelated people will

reside.” This, Mr. Cauley wrote, was a “prohibited use” and would not qualify even as a special

use. Mr. Cauley’s letter did not refer to the Village’s reasonable accommodation process.

       25.      Mr. Owens asked to meet with Mr. Cauley, but received no response. However,

on July 30, 2019, Mr. Owens met with Rob McGuiness, the Village’s Planning Director, Bradley

Bloom, the Assistant Village Manager and Public Safety Director, and Lance Malina, the Village

Attorney, at the sober home at 111 North Grant Street. At the time, the home had only one

resident.



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       26.      During the meeting, Mr. Owens gave the officials a tour of the home and then

answered numerous questions from the three Village officials in attendance on the sober living

home and how it would operate. For example, in response to Mr. Malina’s questions, Mr.

Owens stated that Trinity would not admit sex offenders and explained why Trinity needed to

have ten residents from both a therapeutic and financial perspective. In response to Mr. Bloom,

Mr. Owens stated that Trinity would comply with the Village’s parking regulations and that

residents would not be allowed to stand in front of the house and smoke. Mr. Owens further

confirmed that, other than weekly Alcoholics Anonymous meetings, all therapy and treatment

would occur at Trinity’s office and not at the home.

       27.      At the close of the meeting, Mr. Malina suggested that Trinity request a

reasonable accommodation and referred to the Village’s reasonable accommodation process, as

well as the accommodation the Village granted in August 2017 and described in Paragraph 20

above. Mr. Owens agreed to do so and said that he would have his then-counsel, Steve Polin, a

Washington, D.C.-based lawyer who specializes in representing sober homes, submit a request.

       28.      In a follow-up email exchange with Mr. Malina, Mr. Owens inquired whether, in

the interim, Trinity would be complying with the zoning code if it limited itself to three

residents, the maximum number of unrelated persons allowed to live as a “family” under the

zoning code, not counting domestic servants. Mr. Malina responded as follows:

             To begin, I do not agree that you can have any individual residents at the 111
             Grant property that are customers of Trinity Sober Living, LLC, under
             Hinsdale’s Zoning Code. This follows from the fact that the Trinity Sober
             Living plan, to the extent you have informally described it to the Village, is a
             commercial use. We explained this to you at our meeting. Commercial uses
             are not allowed in the R-4 district. Because the residential use at 111 Grant is
             ancillary to the addiction treatment that is being marketed commercially to
             those seeking Trinity Sober Living’s product, it is a commercial use.




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              Having up to only three unrelated people residing at the property -- even
              though you would like eleven -- does not eliminate the zoning violation
              triggered by the commercial use of the property. This would simply avoid
              violating yet an additional provision of the R-4 zoning requirements.

              As I explained, you must follow the Village Code requirements until you get
              proper authorization to do otherwise. I need to know whether you will do this
              voluntarily. I understand you are now requesting until August 7, 2019, to
              respond. Please do so no later than 4 p.m. Chicago Time on Wednesday,
              August 7th; that is the end of the business day in Washington, D.C.

(Emphasis added.)

        29.      On August 4, 2019, the Village convened a meeting of Hinsdale residents in order

to “share with the residents the actions that the Village has taken and intends to take with respect

to” the sober home at 111 North Grant Street. The Village did not invite Trinity to the meeting.

        30.      At this meeting, the Village did not inform the residents that Trinity was expected

to submit a request for a reasonable accommodation within the next few days or that the Board

of Trustees would be considering this request.

        31.      On August 5, 2019, Mr. Cauley sent a letter addressed “Dear Residents” that

stated that “the Village is prepared to take any and all actions necessary to enforce the Village’s

zoning code, under which this proposed use is not permitted.” The letter did not state that the

Village was expecting a reasonable accommodation request from Trinity in the next few days or

that the Board of Trustees would be considering this request. The Village did not send this letter

to Trinity until after Mr. Owens learned about it over a month later and asked the Village for a

copy.

        32.      On August 7, 2019, the deadline agreed to by the Village, Mr. Polin sent Mr.

Malina a seven-page letter by email. On the first page of the letter, Mr. Polin wrote, “I am

writing this letter to request a reasonable accommodation pursuant to the Federal Fair Housing

Act, 42 U.S.C. § 3604(f)(3)(B) on behalf of TSL [Trinity Sober Living] and its prospective

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residents, the owner of the property and its residents.” The requested accommodation was to

“waiv[e] the number of unrelated persons that can reside together as a family, and treat the use of

111 N. Grant Street as a single family use.” The letter cited extensive legal authority for the

proposition that group homes and sober living homes like Trinity were entitled to reasonable

accommodations under the FHA, notwithstanding their “commercial” aspects. Mr. Polin

received confirmation that evening that Mr. Malina had opened Mr. Polin’s email transmitting

the letter.

        33.    In contravention of the Village’s reasonable accommodation process and past

practice, the Village did not forward Trinity’s reasonable accommodation request to the Board of

Trustees. Instead, on August 8, 2019—the very next day—the Village filed a lawsuit against

Trinity in the Circuit Court for DuPage County, Illinois to enforce its zoning code.

        34.    The Village’s lawsuit claimed that, even though Trinity’s sober home had fewer

than three unrelated residents at the time of filing, it was nevertheless currently in violation of

the zoning code because it was a “commercial” use. The lawsuit did not define what constituted

a “commercial” use under the zoning code, but alleged that the sober home’s residents “will pay

rent, must work or enroll in school, and will be monitored 24/7 by Trinity.”

        35.    Based on the apparent criteria used by the Village, most group homes for persons

with disabilities would be considered a “commercial” use, regardless of the number of residents,

and consequently barred from operating in single-family districts. This is because, for most

group homes, the residents pay rent, the agency operating the group home receives compensation

for the care and services being provided at the home, most residents must attend employment or

day services programs during the day, and residents are monitored by the provider agency.




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       36.     The Village’s lawsuit sought a declaration that the home violated the zoning code

and fines of $500 for “each and every day” the home was operating. The Village also later

moved for a preliminary injunction “[r]equiring Defendant to cease all commercial use of the

Property” and “enjoining Defendant from using the Property for a commercial use, or any other

non-permitted use[.]” The Village voluntarily moved to dismiss this lawsuit on June 15, 2020,

and it is no longer pending.

       37.     At no time during the state court proceedings, which lasted over ten months, did

the Village inform the court that it had received or intended to consider a reasonable

accommodation request from Trinity pursuant to the Fair Housing Act, which, if granted, would

have mooted some or all of the Village’s claims. To the contrary, the Village repeatedly

disputed the Fair Housing Act’s relevance or applicability to the Village’s enforcement of its

zoning code.

       38.     On August 12, 2019, after the Village had filed its lawsuit in state court, Mr.

Malina responded to Mr. Polin. Mr. Malina requested that Trinity provide him with the home’s

“operational plan,” leases, and “any rules in place for residents.” At least some of the requests

for documents concerned topics that had been discussed during the July 30, 2019 meeting

between Trinity and Village officials, including Mr. Malina. Mr. Malina did not ask for any

information about the residents’ disabilities or their need for the requested accommodation, and

did not explain why the information he requested was relevant to Trinity’s reasonable

accommodation request. Mr. Malina stated that, once he received this information, he would

“review your request” and “respond accordingly in more detail.”

       39.     Trinity provided the requested information on October 31, 2019. The Village,

however, did not respond further, nor did it refer the request to the Board of Trustees, consistent



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with the Village’s process for addressing requests for reasonable accommodations in zoning and

land use.

       40.     On November 13, 2020, the Village stated that, in response to the United States’

notice of the filing of this lawsuit, it was now changing the position it has taken for the past one

and one-half years, and now claims that it opposes Trinity’s right to operate in a single-family

district only because it intended to serve more than three unrelated persons, and not because the

Village regards Trinity as a “commercial use.” The Village made clear that it was not

withdrawing any of its other positions with respect to Trinity, including its refusal to consider

Trinity’s reasonable accommodation request. Even under this new position, the Village’s actions

would still preclude all but the smallest group homes from operating. For example, under

Illinois law, group homes for persons with mental illness or intellectual disabilities may serve up

to eight residents. 210 Ill. Comp. Stat. § 135/3(d). Furthermore, as stated above, sober living

homes typically require more than three individuals to succeed therapeutically.

                                                 V.

                                     CLAIMS FOR RELIEF

                          Count I: Violations of the Fair Housing Act
       41.     The allegations listed above are incorporated herein by reference.

       42.     Trinity’s sober living home was a “dwelling” within the meaning of 42 U.S.C. §

3602(b).

       43.     The residents who lived at Trinity’s sober living home, as well as those

individuals who applied to live at the home, were persons with disabilities within the meaning of

42 U.S.C. § 3602(h). 1


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         Throughout this Complaint, the United States uses the term “disability” instead of
“handicap.” For purposes of the FHA, the terms have the same meaning. See Helen L. v.
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          44.    Defendant Village of Hinsdale’s actions described above constitute:

                 a.       discrimination in the sale or rental, or otherwise making unavailable or

          denying, a dwelling because of disability, in violation of the FHA, 42 U.S.C.

          § 3604(f)(1);

                 b.       discrimination in the terms, conditions, or privileges of sale or rental of a

          dwelling, or in the provision of services or facilities in connection with such dwelling

          because of disability, in violation of the FHA, 42 U.S.C. § 3604(f)(2); and

                 c.       a refusal to make reasonable accommodations in rules, policies, practices,

          or services when such accommodations may be necessary to afford a person an equal

          opportunity to use and enjoy a dwelling, in violation of the FHA, 42 U.S.C.

          § 3604(f)(3)(B).

          45.    Defendants have acted intentionally, willfully, and in disregard for the rights of

others.

          46.    Defendant’s actions as described above constitute a pattern or practice of

resistance to the full enjoyment of rights granted by the Fair Housing Act, or a denial of rights

protected by the Fair Housing Act to a group of persons, which denial raises an issue of general

public importance, in violation of 42 U.S.C. § 3614(a).

          47.    Trinity Sober Living, the residents of Trinity’s sober home, and other persons

and/or agencies who may have been the victims of Defendant’s discriminatory conduct are




DiDario, 46 F.3d 325, 330 n.8 (3d Cir.) (“The change in nomenclature from ‘handicap’ to
‘disability’ reflects Congress’ awareness that individuals with disabilities find the term
‘handicapped’ objectionable.”), cert. denied sub nom., Pa. Sec’y of Pub. Welfare v. Idell S., 516
U.S. 813 (1995).
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“aggrieved persons” within the meaning of 42 U.S.C. §§ 3602(i) and 3614(d)(1)(B), and have

suffered harm and damages as a result of Defendant’s conduct.

       WHEREFORE, the United States prays that the Court enter an order:

              a.      Declaring that the Defendant’s actions violate the Fair Housing Act;

              b.      Ordering the Defendant to take all affirmative steps to ensure their

       compliance with the Fair Housing Act, including steps necessary to prevent the

       recurrence of any discriminatory conduct in the future and to eliminate to the extent

       practicable the effects of their unlawful housing practices as described herein;

              c.      Ordering the Defendant to take all affirmative steps to restore, as nearly as

       practicable, the victims of the Defendant’s unlawful practices to the position they would

       have been in but for the Defendant’s discriminatory conduct;

              d.      Awarding monetary damages, pursuant to 42 U.S.C. § 3614(d)(1)(B), to

       all aggrieved persons; and

              e.      Assessing a civil penalty against the Defendant in an amount authorized

       by 42 U.S.C. § 3614(d)(1)(C) to vindicate the public interest.

       The United States further prays for such additional relief as the interests of justice may

require.




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Dated: November 24, 2020

                                              Respectfully submitted,

                                              WILLIAM P. BARR
                                              Attorney General

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